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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
BHUPINDER SINGH,
Plaintiff,
Vv. Civil Action No. 3:23cv339
HARMANPREET SINGH,
KULBIR KAUR, and
ARMAAN VA CORP. d/b/a
LOVELY MARKET,
Defendants.
ORDER
Having reviewed the SUGGESTION FOR STAY (ECF No. 7) filed
pursuant to 18 U.S.C. § 1595(b) (1), and it appearing that a

Criminal Complaint has been filed against the defendants,

Harmanpreet Singh and Kulbir Kaur in a case styled United States

v. Kulbir Kaur and Harmanpreet Singh, Criminal No. 3:23cr92 (the

“2023 Criminal Case”), and finding good cause so to do, it is
hereby ORDERED that this action is STAYED pending further Order of
the Court. It is further ORDERED that plaintiff's counsel shall
file a Status Report by September 5, 2023, and every 45 days

thereafter, said report to include the progress of the 2023

Criminal Case.

It is so ORDERED.

/[s/ fees

Robert E. Payne
Senior United States District Judge

Richmond, Virginia

Date: July oF, 2023
